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AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District Court
                                                               for the                                    FE8 10 PH         IQ
                                                    Southern District of Georgia                               l
                                                                                                   CitRHjJj, ^
                  United States of America                                                               SO. mi:      uM.
                               V.

                                                                          Case No.
                AARON BARNES-BURPO
                                                                                     1:20 mj 008




                          Defendant(s)


                                                 CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                November 21-22, 2019           in the county of            Richmond             in the

     Southern          District of            Georgia         ,the defendant(s) violated:

            Code Section                                                    Offense Description
18USC1349                                       Conspiracy to Commit Wire Fraud
18USC1028A                                      Aggravated Identity Theft




         This criminal complaint is based on these facts:
See Affidavit of FBI S/A Johnathan Escobar incorporated herein




         sf Continued on the attached sheet.


                                                                                            Complainant's signature

                                                                                        Jonathan Escobar, S/A FBI
                                                                                            Printed name and title


Sworn to before me and signed in my presence.


Date:                ^OjlO
                                                                                               Judge's klgnature

City and state:                         Augusta, Georgia                           Brian K. Epps, U.S. Magistrate Judge
                                                                                            Printed name and title
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                     AFFIDAVIT IN SUPPRT OF CRIMINAL
                                    COMPLAINT



       I, Jonathan Escobar, Special Agent of the Federal Bureau of Investigation,

 being first duly sworn, hereby depose and state as follows:


                              AGENT BACKGROUND



      1.     Your affiant is a Special Agent with the Federal Bureau of Investigation

(FBI), and has been so employed since March 2018. Your affiant attended the FBI

New Agent Training in Quantico, Virginia in March of 2018, which consisted of

training on various law enforcement procedures, including the application and

execution of search warrants. From 2009-2018 your affiant worked in Florida as a

Police Officer. During that time, your affiant worked for two years as a Task Force

Officer(TFO)for the FBI and assisted on various search warrants and federal criminal

investigations. Your affiant has applied for and participated in numerous search

warrants during his career.

      2.     As an FBI Special Agent, my duties include, investigating alleged

violations of federal law. Since I have been in law enforcement, I have participated in

numerous investigations involving criminal activities. I have participated in many

aspects of criminal investigations, including conducting surveillance, and issuing

subpoenas.

      3.   The information contained in this affidavit is based on my personal

knowledge, as well as information obtained from documents, electronic databases,


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witnesses, and conveyed to me by other law enforcement officers involved in this

investigation.

        4.    This affidavit is intended to show only that there is sufficient probable

cause for the requested complaint and arrest warrant and does not set forth all of my

knowledge about this matter.


                                   Probable Cause



        5.     On November 21, 2019, a person purporting to be "MARK JONES"

("JONES")caUed the FAIRFIELD INN AND SUITES("FAIRFIELD")located at 3023

Vi Washington Road, Augusta, Georgia.

        6.    During the call, JONES stated that he was with ROC NATION.

        7.    ROC NATION, LLC is an American entertainment agency founded by

Jay-Z in 2008. The company has offices in New York City, London, Nashville, and Los

Angeles.

        8.    On November 21, 2019, JONES requested 10 rooms at the FAIRFIELD

for an artist and his entourage. JONES also requested to have a $2,500 credit applied

to the King Suite so they could order things from outside the hotel and charge it to the

room.



        9.    JONES stated that he would provide a credit card number for

authorization, but instructed the hotel not to charge the credit card.

        10.   JONES informed the hotel that he would pay with a certified check at

the conclusion of the stay.

        11.   After the call and requested reservation, the FAIRFIELD received an e-

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mail from the email address: Rocnation832@gmail.com that had as an attachment to

the email a FAIRFIELD Credit Card Authorization form which listed credit card

number 5466 1603 4650 5546; with an expiration date of9/20. The address associated

with the card was 621 N. Windwood Street, Gardner, Kansas 66030, and the guest

information hne indicated "Rocnation/WuTangClan".

      12.    FAIRFIELD staff believed this was a scam and notified your affiant. The

FAIRFIELD continued with the booking process.

      13.    FAIRFIELD Director of Sales, KELSEY LONG ("LONG"), advised your

affiant that the same group tried to book rooms a couple of weeks ago.

      14.    LONG advised that she called and spoke to a legal representative of the

real ROC NATION, who advised that they had received several calls in reference to

this scam from at least four or five different hotels. ROC NATION confirmed that the

group trying to book the hotel was not affihated with them.

      15.    On November 21, 2019, your affiant contacted Citi Security &

Investigative Services Investigative Analyst, ELLE ROJAS.

      16.   ROJAS confirmed that CitiBank Credit Card Number 5466 1603 4650

5546, with an expiration date of 9/20, was stolen. The card belonged to T. H. and had

a verified user of C. H. at 621 N. Windwood Street, Gardner, Kansas 66030.

      17.   On November 21, 2019, your affiant, assisted by Richmond County

Sherriffs Office, Richmond County District Attorney's Office and other agents,

traveled to FAIRFIELD to conduct surveillance on the potential suspects.

      18.   On November 22, 2019, at approximately 1100 hours, AARON BARNES-
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BURPO, and three others arrived at the FAIRFIELD.

      19.   At this time, AARON BARNES-BURPO attempted to check in under the

ROC NATION reservation, after which, Richmond County Deputies detained

BARNES-BURPO,JASON MAYES,ANTHONY JACKSON and CHARLES GREELY.

MAYES and JACKSON both said they were homeless and from Atlanta. MAYES and

JACKSON had been recruited by "CAP" and "AMANl" (later determined to be

WALKER WASHINGTON and BARNES-BURPO respectively) as "bodyguards."

GREELY was employed by A-National Limousine as a driver.

      20.   GREELY cooperated and was interviewed. He indicated as follows: he

worked for A-National Limousine out of Atlanta. A-National Limousine was hired and

had been driving around the group for almost a week. GREELY stated that they

recently stayed at the GEORGIAN TERRACE HOTEL before coming to Augusta.

Affiant learned that A-National had rented a second vehicle, a Phantom Rolls Royce,

to the group as weU. The driver of the Phantom indicated that he left "CAP"

(WALKER WASHINGTON) and an unknown female at an unknown location in

downtown Augusta on this day and he did not currently know where they were. The

"bodyguards" MAYES and JACKSON confirmed that CAP was in the Phantom Rolls

Royce as well.

      21.   Your affiant explained to GREELY how the scam worked and instructed

him to have his company run the credit card that was given to A-National Limousine

as a form of payment. When A-National Limousine made the attempt, the

authorization was declined. The total contract loss amount for A-National Limousine
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was $59,136.00.

      22.    Your affiant instructed A-National Limousine to provide him with the

credit card number that was on file for this group. The credit card number provided to

your affiant was: 5466 3311 0586 7746, expiration date: 5/21.

      23.    Your affiant called CitiBank Investigator BRIAN TURNER, who advised

that the block of numbers did not match any CitiBank card and stated that it was

likely that the number were fictitious.

      24.    On November 22, 2019, your affiant conducted an interview with AARON

BARNES-BURPO. BARNES-BURPO claimed that he worked for ROC NATION but

was unable to provide any documentation showing employment with ROC NATION.

      25.    During the interview, BARNES-BURPO stated that he did not make the

reservation but he used his cell phone to speak with the representatives at ROC

NATION who make reservations.


      26.    Your affiant was able to confirm that BARNES-BURPO cell phone

number was 850-427-8813 by placing a call to that number during the interview.

      27.    BARNES-BURPO's cell phone was seized incident to arrest. A search of

the phone's contents pursuant to Federal Search Warrant confirms that BARNES-

BURPO used his cellular wireless device in furtherance ofthe fraudulent scheme. For

example, the phone contained a photo of the FAIRFIELD Credit Card Authorization

form which listed stolen credit card number 5466 1603 4650 5546; with an expiration

date of 9/20 and which was sent to the FAIRFIELD from Rocnation832@gmail.com in

an attachment to reserve the rooms.
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      28.       During a search of the vehicle in which BARNES-BURPO arrived in

Augusta, your affiant seized various keys from hotel located all over the country, and

a paper on which the credit card numbers which had been provided to the FARFIELD

and A-NATIONAL LIMOUSINE, were written.

      29. Other documents taken from the vehicle included the following:

            • Lists of record labels, the people who worked for the record labels, and

                the basic structure of the group. Many of these hsts were drafted on the

                back ofjail paperwork for WALKER WASHINGTON.

            •    A page with a list of email addresses and passwords to include:

                Rocnationcap@gmail.com. password: rocnationl23;

                caprocnation@gmaLl.com. password: rocnationl23;

                Facebook - rocnationcap@gmail.com. password: rocnationl23;

                Twitter - Legend Tha God MCEE,Login: rocnationcap@gmail.com.

                password: rocnationl23; and

                Instagram- Legendthagodmcee, password: rocnationl23.

            • Credit card authorization forms, and other hotel identification

                documents,

            • Documents showing other services to include recording studios and

                limousine companies to include; A-NATIONAL LIMOUSINE and END

                 AUTUMN STUDIOS.


      30. A review of Instagram account Legendthagodmcee revealed pictures of

WALKER WAHSINGTON and his brother ERIC WASHINGTON.
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      31. Shortly    after   the   arrest     of   BAENES-BURPO,       QUINYUATTA

SUMMERHILL called your affiant and stated that she and her cousins, LATISHA

MCDANIEL and KAYLA MCDANIEL had been recruited by "CAP" and "AMANI"

while in Alabama. She advised they were told they would each be paid $2000.00 a day

for their services and that they were never paid. She also advised that "CAP"'s real

name was WALKER WASHINGTON. She sent a web link to an article from the

Pensacola News Journal http://www.pni.eom/storv/news/crime/2014/10/08/rapper-

arrested/16928287/. that showed a picture of WALKER WASHINGTON and detailed

his arrest in Pensacola, for pretending to be a rapper and defrauding hotels.

      32. On November 26, 2019, pursuant to a federal search warrant, affiant

searched the cell phone belonging to AARON BARNES-BURPO. In the phone, affiant

located, among other things, the following:

          • Photographs of the credit card authorization form used at the

              AUGUSTA FAIRFIELD INN AND SUITES,

          • screen shots of hotel stay information from ARRIVE MEMPHIS,

          • photo     of credit    card   authorization form    from   A-NATIONAL

              LIMOUSINE,

          • a photograph of the contract and credit card authorization form from

              SPRINGHILL SUITES MACON,

          • a photograph of an occupancy agreement term sheet from TRAVELERS

              HAVEN (Atlanta),

          •   a credit card authorization form from HYATT HOUSE ATLANTA
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              COBB GALLERIA,

          • a photograph of the rental license agreement from BELLE AIR

             MANSION (NashviUe),

          • a screenshot of google voice number 850-865-4760,

          • a photograph of THE PARTRIDGE INN CURIO BY HILTON

             (Augusta),

          • a photograph of corporate personal credit card account form from

             FRIENDLY RIDE,

          • a photograph of the INTERCONTINENTAL BUCKHEAD ATLANTA

             foho, and

          • four screen shots from j-stash.bazar (Joker's Stash), which is one of the

             largest providers of up to date stolen credit card information on the dark

             web. The screen shots showed the information for EMILY CROMWELL


             with her address and social secimity number.

      33. In text message exchanges located on the cell phone, BARNES-BURPO

identifies himself as IAN ALLEN, MARK JONES, KEDAR MASSENBERG, and

JUAN PEREZ.


      34. The settings tab of the phone shows the phone is registered under Apple

ID belonging to ATnaniblk@gmail.com. There was also a setting selected in BURPO's

phone that allowed WALKER WASHINGTON,using phone number 850-865-4760, to

send and receive messages from BURPO's phone. WASHINGTON'S phone number

was identified by JASONEY MAYES, one of the "bodyguards," as belonging to



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WASHINGTON. Your affiant called WASHINGTON on this phone number, and he

picked up and briefly spoke to your affiant and identified himself as"CAP". BARNES-

BURPO also called WASHINGTON on this number while he was in jail.

       35. The setting that allowed BURPO's and WALKER WASHINGTON,to send

and receive messages from BURPO's phone allowed them to see texts communications

of each other. It is believed that this was done so that they would be aware of each

other's activity.

                       Other Overt Acts of the Conspiracy


       36. On September 27, 2019, PRAFAL GHANDI,the owner of DAYS INN AND

SUITES,459 Park West Drive, Grovetown, Georgia 30813, was contacted by someone

claiming to be with ROCNATION LLC via email: rocnation832@gmail.com. The

person indicted that he wanted to rent rooms at the hotel and would pay the bill after

an invoice was created after the stay. The email sender provided a contact number

for "KEDAR MASSENBERG" at 347-970-6569, and also provided a Federal Tax ID

number of XXX-XX-XXXX from Manhattan Bank of New York.

      37. GHANDI said on the date of check for the reservation secured

rocnation832@gmail.com. AARON BARNES-BURPO was the person who came to

check-in for the entire group. Simveillance video from the DAYS INN confirms that

BARNES-BURPO checks the group.              Surveillance video also shows ERIC

WASHINGTON(WALKER WASHIONGTON's bother)entering the hotel and getting

a room key from BARNES-BURPO. After checking into the rooms, BARNES-BURPO

can he seen on the video walking around to the back of the hotel, meeting with
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WALKER WASHINGTON, getting into a vehicle together, and leaving.

      38.    On October 10, 2019, the COMFORT INN in Augusta reported that a

group of people came to the hotel, checked in, and left the hotel with a bill in excess of

$23,000. A hotel employee was shown a picture ofBARNES-BURPO and she identified

him as the person who checked into the rooms. No credit card was used o this occasion.

The rental was authorized based on the promise to pay at the end of the stay.

      39. On November 15, 2019 Two black males arrived at the               STRICKLIN

HOTEL, 317 N. Court Street, Florida, Alabama. The males identified themselves as

"AMANl" and SMITH. THISA SMITH would identify "AMANl" as AARON BARNES-

BURPO and SMITH as ERIC WASHINGTON (WALKER's brother). On November

26, 2019 SA RANDY MARKHAM (FBI ALABAMA), met with THISA SMITH who

indicated that she received a call firom someone who identified themselves as LAN

ALLEN from both telephone numbers 347-378-9110 and 850-427-8813 (BARNES-

BURPO's phone). She was told that a group was recording at FAME STUDIOS and

then needed ten rooms for fourteen nights. THISA SMITH had contact with the group

through rocnation832@gmail.com. The total biU was $9,160.76, which was never paid.

      40. On September 21, 2019 MARY GASPARRO owner of END OF AUTUMN

STUDIOS, 541D Bishop Street NW, Atlanta, Georgia 30313 allowed a group to

recorded at her studio. The group left with an unpaid $1500.00 hill. GASPARRO

identified AARON BARNES-BURPO as being part of the group. She advised that

after they recorded, she gave him a ride to the airport, and he paid her for the ride to

the airport via his CASHAPP at "Aaaron Barnes" ($ahkee77). GASPARRO also



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provided photographs that were taken of the group while they were at the studio,

which included a photograph of WALKER WASHINGTON.

      41. Sometime prior to November 22, 2019, according to driver GREELY, and

"bodygurads" JASON MAYES, and ANTHONY JACKSON and the three females who

were abandoned in Alabama, BARNES-BURPO and WASHINGTON checked into the

THE GEORGIAN TERRACE HOTEL in Atlanta. An agent of the GEORGIA

confirmed that the hotel had a reservation for ROCNATION and had sustained a loss

in the amount of $45,068.23.

      42. On November 5,2019 CORY MOORE,owner of MAD STUDIOS ATL, 1376

Chattahoochee Ave NW,Atlanta, Georgia, contacted from telephone number 850-865-

4760, by a male who identified himself as KEDAR MASSENBERG, who claimed he

wanted to rent out the studio, and would pay by wire after the session. MOORE also

spoke with a male who identified himself as "AMANI BLACK," who used phone

number 850-427-8813(BARNES-BURPO's phone).

      43. MOORE said a group arrived at the studio and recorded six beats, with a

total value of approximately $15,600.00. MOORE provided video footage of them at

the studio. Both WALKER WASHINGTON and AARON BARNES-BURPO are seen

in the video footage. MOORE identified WALKER WASHINGTON as "CAP" and

BARNES-BURPO as "AMANI BLACK". MOORE requested payment after providing

the services, but was never paid even after multiple requests.

      44. On November 6, 2019 group claiming to be with ROCNATION LLC

checked into the HYATT REGENCY ATLANTA.                  They used the e-mail to



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communicate was rocnation832@gmail.com. The group provided an invahd credit card

to pay for the room, but the credit card number used is not known at this time. The

total bill at the HYATT REGENCY was $39,038.50.

      45. On February 7, 2020, your affiant interviewed WALKER WASHINGTON

at the BULLOCH COUNTY JAIL. After being read his Miranda Rights,

WASHINGTON provided the following information:

      46. WASHINGTON said he was a rapper, and that he went by the name"CAP".

He initially stated that he had stayed at the EAGLES NEST HOTEL in Statesboro for

one night. WASHINGTON said he was there for a performance, and that a promoter

had booked the hotel room, and he didn't have anything to do with the payment for

the hotel. He also said that he was with his road manager MARIO BROWN aka

"BREEZE".


      47. WASHINGTON claimed he was not paid for the performance so he abruptly

left in the middle of the night. WASHINGTON also admitted to using a limousine

service for transportation but also claimed he did not know who provided the service

because he didn't book it. Initially WASHINGTON claimed he couldn't remember

what happened before or after the EAGLES NEST and claimed he blacked out.

      48. WASHINGTON'S story changed however when your affiant began asking

him about specific information. He admitted to staying at the DAYS INN in Augusta,

as weU as well as the GEORGIAN TERRACE and THE RITZ CARLTON NEW YORK,

and to using recording studios all over the country. WASHINGTON continued to say

he didn't have anything to do with the bookings.



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      49. Later in the interview WASHINGTON said he knew AARON BARNES-

BURPO aka "AMANI BLACK," and that he had met him while he was in jail in

Florida. He admitted that BURPO picked him up when he got out ofjail on September

18, 2019.

      50. WASHINGTON admitted he was in AUGUSTA when BARNES-BURPO

was arrested. He said he had been in a Phantom Rolls Royce at the James Brown

Arena. WASHINGTON admitted to speaking to your affiant on the phone after

BURPO's arrest. WASHINGTON admitted the phone number that he spoke to your

affiant on, as well as the phone number he spoke with BARNES-BURPO on in the jail,

was the phone number he was using, but he could not remember it. (Your Affiant

knows this number to be 850-865-4760).

      51. WASHINGTON also advised that the phone that was in his property was

the one he used. He said that the phone was linked with BARNES-BURPO's so they

could each see what the other person was texting. He also admitted the phone he had

in his property was used to send e-mails to the hotels.

      52. WASHINGTON went on to reiterate that he was trying to get a business

going, and requested that we search for Jay-Z unpaid hotel bills, to see that other

artists had done similar things.

      53. Near the end of the interview WASHINGTON requested to speak to your

affiant alone. WASHINGTON said he was essentially homeless when he went to jail

and would be homeless when he got out. WASHINGTON then stated that he had done

all the planning for this with BARNES-BURPO while he(WASHINGTON)was in jail.



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He said when he got out they got started and it just got out of hand. WASHINGTON

admitted that it was him, BARNES-BURPO, and EDWARDS who knew what was

going on. He admitted that there were others, but that they were the main ones.

      54. This interview was captured on audio and video recording. After speaking

with WASHINGTON your affiant retrieved WALKER WASHINGTON'S phone from

his property and took it as evidence. The phone was a silver in color iPhone S,

Model:A1634, FCCIDD: BCG-E2944A, IC: 579C-E2944A. Your affiant turned on the

phone and it showed it had a passcode.

                                      Conclusion


      55.    I submit that this affidavit supports probable cause for the issuance of

complaints and arrest warrants for BARNES-BURPO and WALKER WASHINGTON

for the offense of conspiracy to commit wire fraud in violation of 18 U.S.C. § 1349, in

that, with intent to defraud, BARNES-BURPO and WALKER WASHINGTON

conspired to devised a scheme to defraud FARIFIELD by materially false or

fraudulent pretenses, representations or promises, that is: the promise to pay

FAIRFIELD for 10 hotel rooms with a stolen credit card and in advancing, furthering,

or carrying out the scheme, BARNES-BURPO and WALKER WASHINGTON caused

to be transmitted by email a Credit Card Authorization form bearing the stolen credit

card information, all which was in interstate commerce.

      56.    I further submit that this affidavit supports probable cause for the

issuance of complaints and arrest warrants for BARNES-BURPO and WALKER

WASHINGTON for the offense of aggravated identity theft in violation of 18 U.S.C.



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§ 1028A, in that BARNES-BURPO and WALKER WASHINGTON knowingly

possessed and used, without lawful authority a means of identification of another

person, that is: the credit card number 5466 1603 4650 5546 belonging to T. H. with

a verified user of C. H., during and in relation to wire fraud.

      57.       Based on the ahove-stated facts. Your Affiant requests that warrants

issue for the arrests for AARON BARNES-BURPO and WALKER WASHINGTON

for Conspiracy to Commit Wire Fraud and Aggravated Identity Theft.



                                Respectfully submitted.




                                 Jonathan Escohar, Special Agent
                                 United States Department of Justice
                                 Federal Bureau of Investigation




Subscribed and sworn to before me on




   J.JS-
HONORABLE
  NORABLE BRIAN
          BRIA K. EPPS
UNITED STATES MAGISTRATE JUDGE




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